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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA JS-6

CIVIL MINUTES — GENERAL

Case No. 8:21-cv-01414-CJC-KES Date November 10, 2021

 

 

Title Quy Truong v. Quy Lam et al.

 

PRESENT: HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

Rolls Royce Paschal Not Reported
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present

PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION FOR LACK OF
PROSECUTION

 

It is a plaintiff's responsibility to prosecute the action diligently and respond promptly
to Court orders. The Court’s Order Regarding Prosecution of Certain Cases Under the
Americans with Disabilities Act states that “a request for default must be filed no later than 5
days after the time the response to the complaint would have been due.” (Dkt. 9
[hereinafter the “Order’] at 2 [emphasis in original].) The Order further admonishes that
“failure to comply with this Order in a particular case will result in a dismissal for lack of
prosecution.” (/d. at 3.)

In this case, Plaintiff served Defendant on September 21, 2021. (Dkt. 13.)
Defendant's answer was therefore due on or before October 31, 2021. (/d.) Although more
than 5 days have passed since that date, Defendant has not responded to the Complaint
and Plaintiff has not filed a request for default. The Court therefore DISMISSES this action
for lack of prosecution.

Initials of Deputy Clerk: rrp

 

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